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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                                Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                Case No. 17-12560 (JKS)
al.,1
                                                                      (Jointly Administered)
                                    Remaining Debtors.

MICHAEL GOLDBERG, as Liquidating Trustee of the
Woodbridge Liquidation Trust, successor in interest to
the estates of WOODBRIDGE GROUP OF
COMPANIES, LLC, et al.,                                Adversary Proceeding
                           Plaintiff,                  Case No. 19-50883 (JKS)
                        vs.

BILLY MCNEESE; SALLY MCNEESE,

                                    Defendants.



                              NOTICE OF VOLUNTARY DISMISSAL OF
                                   ADVERSARY PROCEEDING


                   PLEASE TAKE NOTICE that, pursuant to that certain Settlement Agreement,

 entered into by and between plaintiff Michael Goldberg, as Liquidating Trustee of the

 Woodbridge Liquidation Trust, and defendants Billy McNeese and Sally McNeese and Rule

 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, as made applicable hereto by Rule 7041

 of the Federal Rules of Bankruptcy Procedure, the Woodbridge Liquidation Trust hereby




 1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
 Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
 Remaining Debtors’ mailing address is 14140 Ventura Boulevard, #302, Sherman Oaks, California 91423.


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dismisses the above-referenced adversary proceeding with prejudice. The parties shall bear their

own attorneys’ fees and costs.

 Dated:     August 18, 2021            PACHULSKI STANG ZIEHL & JONES LLP
            Wilmington, Delaware
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                                       Bradford J. Sandler (DE Bar No. 4142)
                                       Andrew W. Caine (CA Bar No. 110345)
                                       Colin R. Robinson (DE Bar No. 5524)
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                                       Counsel to Plaintiff Michael Goldberg, as Liquidating
                                       Trustee of the Woodbridge Liquidation Trust




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